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12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 14-00499-PA

15             Plaintiff,                     GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT’S MOTION TO WITHDRAW HIS
16                   v.                       PLEA OF GUILTY TO COUNT THREE OF
                                              FIRST SUPERSEDING INFORMATION
17   XILIN CHEN,

18             Defendant.

19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Vicki Chou and John
23   Kucera, hereby files this Opposition to the Motion by Defendant,
24   Xilin Chen (“defendant”), to withdraw his plea of guilty as to Count
25   Three of the First Superseding Information.         (Dkt. 229.)
26   //
27

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 1        This Opposition is based upon the attached memorandum of points

 2   and authorities, the files and records in this case, and such further

 3   evidence and argument as the Court may permit.

 4        As of the time of the filing of this Opposition, the government

 5   still has not received the transcript of defendant’s change of plea

 6   proceeding from the court reporter.1        Government counsel left a

 7   message for the court reporter at 10:00 a.m. and for her supervisor

 8   at 10:42 a.m. and has not heard back from either party.           So as not to

 9   delay the briefing any further, the government is submitting a

10   version of the brief based on government counsel’s recollection of

11   the plea colloquy and will supplement with a summary of the

12   proceedings after the transcript has been provided to government

13   counsel.

14   Dated: April 11, 2018                Respectfully submitted,

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19                                                    /s/
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23

24

25

26        1 As detailed in the parties’ Stipulation to Extend Briefing
     Deadline on Defendant’s Motion to Withdraw Plea to Count Three of the
27   First Superseding Information (Dkt. 242), the court reporter had
     indicated that she would provide the transcript to the government on
28   April 10, 2018.
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           Three and a half years after entering into a complex, package

 4   deal negotiated for months between the government and defendant’s

 5   private, retained counsel and defendant’s two separately represented

 6   co-defendant adult children, defendant now seeks to have the benefit

 7   of his bargain without paying the agreed-upon cost.           Defendant has

 8   moved to withdraw his guilty plea to just count three of the First

 9   Superseding Information (“FSI”), which charged him with Unlawful

10   Procurement of United States Citizenship, in violation of 18 U.S.C. §

11   1425.    Defendant’s plea to this count, which will result in his

12   denaturalization, was a crucial component to the package deal that

13   included, among other benefits, the government’s agreements to

14   dismiss the indictment against defendant’s daughter, Aixia Chen, to

15   dismiss the immigration fraud charges against defendant’s son, Chuang

16   Feng Chen, and to make a recommendation of no custodial time for

17   defendant if he were to provide sufficient substantial assistance.

18           Defendant argues that he be allowed to withdraw his plea only as

19   to count three of the FSI because he hopes to keep his unlawfully

20   procured United States citizenship.        He has further fashioned his

21   argument to be based on a lack of voluntariness because he hopes not

22   to trigger the breach provisions of the plea agreement so that he can

23   retain the other benefits of the package deal.          This Court should

24   reject defendant’s feint.

25           First, defendant contends that the Supreme Court’s decision in

26   Maslenjak v. United States, 137 S. Ct. 1918 (2017), changes Ninth

27   Circuit law as to 18 U.S.C. § 1425(a), which gives him a fair and

28   just reason for withdrawal.      This argument fails because Maslenjak
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 1   does not overrule Ninth Circuit precedent or provide defendant with

 2   an argument that was unavailable to him prior to his guilty plea.

 3   Second, defendant contends that his guilty plea to count three was

 4   not knowing or intelligent.      This argument is directly contradicted

 5   by the plea agreement between the parties and defendant’s statements

 6   at the change of plea hearing.

 7         Defendant should not be permitted to pick and choose between

 8   those provisions of the package deal that he now finds most agreeable

 9   for his lifestyle.     The Court should deny his motion to withdraw his

10   guilty plea to just count three of the FSI, or, if it allows him to

11   withdraw that plea, declare defendant’s plea agreement breached and

12   the package deal unwound.      Defendant’s persistence in his motion,

13   contesting facts agreed upon in the plea agreement, is sufficient to

14   for this Court to find that he has breached his plea agreement, even

15   without making further inquiry into whether or not the withdrawal of

16   a plea constitutes a breach.

17   II.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY
18         A.    Charges and Plea Negotiations
19         On September 2, 2014, the Grand Jury returned an eight-count

20   indictment against defendant and his two adult children, Chuang Feng

21   Chen and Aixia Chen, charging money laundering and immigration fraud

22   offenses.   (Dkt. 1.)    The indictment alleged, inter alia, that the

23   defendants were engaged in the laundering of drug proceeds and that

24   defendant and Chuang Feng Chen had made false statements in their

25   applications to obtain United States citizenship, concealing their

26   criminal activities.

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 1           Thereafter, the government and defendants’ private, retained

 2   counsel engaged in months of negotiations.         At the end, the parties

 3   entered into a complex package deal.        On May 26, 2015, the government

 4   filed two-part plea agreements for defendant and co-defendant Chuang

 5   Feng Chen.    (Dkts. 101, 102, 110, 111.)       The government also filed a

 6   Motion to Dismiss Case as to Aixia Chen (Dkt. 106) with an under seal

 7   supplement (Dkt. 132.)     On June 4, 2015, the Court dismissed Aixia

 8   Chen from the indictment without prejudice.         (Dkt. 127.)

 9           B.   Defendant’s Plea Agreement
10           Defendant’s plea agreement required him to plead to each count

11   of a three-count superseding information charging violations of 18

12   U.S.C. § 545 (Passing False Papers Through a Customhouse), 18 U.S.C.

13   § 1956(h) (Conspiracy to Launder Monetary Instruments), and 18 U.S.C.

14   § 1425 (Unlawful Procurement of United States Citizenship). (Dkt.

15   101.)    Defendant also agreed to “Not contest facts agreed to in this

16   agreement.”    (Plea Agreement ¶ 3(b)).      Defendant’s plea agreement

17   specified that his plea was part of a “package deal in which the

18   disposition of the case against defendant is tied to and conditioned

19   upon the disposition of cases against the two other defendants,

20   namely, Chuang Feng Chen and Aixia Chen.”         (Id. ¶ 2.)    Defendant also

21   represented that he was entering into the package deal “freely and

22   voluntarily,” and not “because of threats, coercion, or other undue

23   influence.” (Id. ¶ 2.)

24           In exchange, not only did the government agree to the package

25   deal with favorable dispositions for defendant’s co-defendant

26   children, it agreed to dismiss the remaining indictment against

27   defendant, not further prosecute defendant for certain violations

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 1   under Title 18, and, provided “the guidelines range recommended by

 2   the USAO at the time of sentencing is within or below Zone C,

 3   recommend that defendant be sentenced to no term of imprisonment.”

 4   (Id. ¶ 5.)

 5        Paragraphs 8-10 of defendant’s plea agreement spelled out the

 6   elements of the crimes to which defendant was pleading guilty.

 7   Paragraph 10 included the Ninth Circuit’s elements for Unlawful

 8   Procurement of Citizenship, in violation of 18 U.S.C. § 1425,

 9   including that defendant (1) knowingly procured naturalization, (2)

10   defendant knowingly made a misrepresentation on his naturalization

11   application, and (3) defendant’s misrepresentation was material. (Id.

12   ¶ 10.)

13        The facts of the offenses that defendant admitted were contained

14   in paragraph 17 of plea agreement, including facts of defendant’s

15   customs fraud and money laundering, as well as the following,

16   relevant to defendant’s unlawful procurement of citizenship:

17        On or about November 20, 2012, in Los Angeles County,
          defendant knowingly procured and attempted to procure,
18        contrary to law, his United States citizenship
          naturalization, by making the following false statement,
19        which he knew to be false when made: that defendant had
          never committed a crime or offense for which he had not
20        been arrested, when, in fact, as defendant well knew, he
          had committed such a crime and offense, including,
21        Conspiracy to Launder Monetary Instruments, in violation
          of 18 U.S.C. § 1956(h) and the Passing False Papers Through
22        Customhouse, in violation of 18 U.S.C. § 545.

23   (Id. ¶ 17) (emphasis added).

24        Paragraph 25 of the plea agreement set forth the consequences of

25   defendant’s withdrawal of guilty plea, namely that:

26        if, after entering a guilty plea pursuant to this
          agreement, defendant seeks to withdraw and succeeds in
27        withdrawing defendant’s guilty plea on any basis other than
          a claim and finding that entry into this plea agreement was
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 1         involuntary, then (a) the USAO will be relieved of all of
           its obligations under this agreement. . .
 2
     (Id. ¶ 25.)
 3
           The breach provisions of the plea agreement were contained in
 4
     paragraph 27 and 28.      Paragraph 27 stated:
 5
           Defendant agrees that if defendant, at any time after the
 6         signature of this agreement and execution of all required
           certifications by defendant, defendant’s counsel, and an
 7         Assistant United States Attorney, knowingly violates or
           fails to perform any of defendant’s obligations under this
 8         agreement (“a breach”), the USAO may declare this agreement
           breached. All of defendant’s obligations are material, a
 9         single breach of this agreement is sufficient for the USAO
           to declare a breach, and defendant shall not be deemed to
10         have cured a breach without the express agreement of the
           USAO in writing. If the USAO declares this agreement
11         breached, and the Court finds such a breach to have
           occurred, then: (a) if defendant has previously entered a
12         guilty plea pursuant to this agreement, defendant will not
           be able to withdraw the guilty plea, and (b) the USAO will
13         be relieved of all its obligations under this agreement.

14   (Id. ¶ 27.)

15         Defendant and his counsel, with the aid of a Chinese

16   interpreter, reviewed and signed the plea agreement on May 25, 2015.

17   (Id. at 23-25.)     Defendant represented that he “had enough time to

18   review and consider this agreement” and had “carefully and thoroughly

19   discussed every part of it with [his] attorney.”           (Id. at 23.)    He

20   signed that he “understood the terms of this agreement and []

21   voluntarily agreed to those terms.”         (Id.)   His certification also

22   included the representation, “No one has threatened or forced me in

23   any way to enter into this agreement. . .” (Id.)

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 1         C.     Defendant’s Change of Plea Hearing1
 2         On May 29, 2015, with the aid of a Mandarin speaking

 3   interpreter, the Court arraigned defendant on the FSI, and held a

 4   plea hearing in compliance with all requirements set out by Rule

 5   11(b) of the Federal Rules of Criminal Procedure. (Dkt. 124.)             The

 6   Court advised defendant of the consequences of entering into a guilty

 7   plea, including the collateral consequences.          The government set

 8   forth the elements of the offenses and the statutory maximum

 9   penalties.     Defendant, after being placed under oath, admitted to the

10   factual basis set forth in the plea agreement and read into the

11   record by the government.       Defendant acknowledged that he understood

12   the consequences of entering a guilty plea and had discussed the plea

13   agreement with his counsel.       He also stated that he was entering into

14   the plea voluntarily.      The Court accepted and entered defendant’s

15   pleas of guilty to the three counts of the FSI, finding defendant’s

16   pleas knowing and voluntary. (Dkt. 124.)

17         The Court, at the same time, also arraigned Chuang Feng Chen on

18   the Second Superseding Information, and after conducting a thorough

19   plea colloquy, accepted his plea of guilty and found it knowing and

20   voluntary.

21   III. ARGUMENT
22         A.     Defendant Has No Basis Under Maslenjak To Withdraw His
                  Guilty Plea
23
           Defendant argues that he should be allowed to withdraw his
24
     guilty plea because the Supreme Court’s decision in Maslenjak changes
25

26
           1The government has drafted this section based on its
27   recollection of the change of plea colloquy and will supplement with
     references to the transcript once the transcript has been provided by
28   the court reporter.
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 1   Ninth Circuit law as to § 1425(a). (Def.’s Mot. to Withdraw at 2, 5.)

 2   In Maslenjak, the Supreme Court imposed a “causal relation” test

 3   between a misrepresentation and the unlawful procurement of

 4   naturalization.     137 S. Ct. 1918, 1925 (2017).       However, defendant’s

 5   argument fails to recognize that prior to Maslenjak, Ninth Circuit

 6   law already imposed a heightened materiality standard for false

 7   statements in the procurement of naturalization.           Maslenjak therefore

 8   does not overrule precedent or provide defendant with a previously

 9   unavailable argument to allow him to withdraw his plea.            Defendant’s

10   admissions in his guilty plea and at his plea colloquy -- that he had

11   committed the crimes of customs fraud and money laundering prior to

12   submission of his naturalization application, and knowingly failed to

13   disclose these crimes in his application -- would more than satisfy

14   the causal link requirement of Maslenjak.

15                1.   The Ninth Circuit Requires Marked Shift In Law To
                       Allow Withdrawal Of A Guilty Plea
16
           After a court accepts a defendant’s plea of guilty in compliance
17
     with Rule 11 but before sentencing, the defendant must demonstrate a
18
     “fair and just reason for withdrawal.”         Fed. R. Crim. P. 11(d)(2)(B).
19
     Rule 11 ensures that there is “some finality at the time pleas are
20
     accepted.”    United States v. Ensminger, 567 F.3d 587, 593 (9th Cir.
21
     2009) (citation omitted).       A defendant bears the burden of
22
     establishing that withdrawal is warranted.          United States v.
23
     McTiernan, 546 F.3d 1160, 1167 (9th Cir. 2008).          The decision to
24
     allow a defendant to withdraw a plea is “solely within the discretion
25
     of the district court.” United States v. Showalter, 569 F.3d 1150,
26
     1156–57 (9th Cir. 2009).
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 1         While the Ninth Circuit has described the “fair and just”

 2   standard to be “generous,” a “defendant is not permitted to withdraw

 3   his guilty plea simply on a lark.”          McTiernan, 546 F.3d at 1167

 4   (quotation marks and citation omitted).         Fair and just reasons

 5   include “inadequate Rule 11 plea colloquies, newly discovered

 6   evidence, intervening circumstances or any other reason for

 7   withdrawing the plea that did not exist when the defendant entered

 8   his plea.”    Ensminger, 567 F.3d at 590–91 (citations omitted).           “Once

 9   a plea is accepted, permitting withdrawal is, as it ought to be, the

10   exception, not an automatic right.”         Id. at 593.    For a development

11   in the law to constitute fair and just reason to withdraw a plea, the

12   development in the law “should provide defendant with a previously

13   unavailable ground sufficient to provide some material relief.”             Id.

14   at 594 (citing Ortega-Ascanio, 376 F.3d at 886.)           It is not enough

15   for a defendant to “point to some court decision somewhere that

16   offered him hope of escaping conviction or otherwise caused him to

17   second-guess his prior decision to plead guilty.”           Id. at 592-93.

18         The Ninth Circuit –- on only one occasion -- has found that a

19   change in the law is an intervening circumstance that justifies

20   withdrawal of a plea.      Ensminger, 567 F.3d at 591 (referring to the

21   Ninth Circuit’s decision in United States v. Ortega-Ascanio, 376 F.3d

22   879 (9th Cir. 2004)).      That is because there must be “[a] marked

23   shift in governing law that gives traction to a previously foreclosed

24   or unavailable argument” in order to “operate as a fair and just

25   reason to withdraw a guilty plea.”          Ensminger, 567 F.3d at 592.     In

26   Ensminger, the Ninth Circuit refused to allow a defendant to withdraw

27   his plea where he argued that his changed circumstances were a

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 1   district court case in another district that upheld a constitutional

 2   challenge to the crime to which he pled.         Id. at 593-94.     Finding

 3   that the other district’s case did not “overrule precedent” nor give

 4   the defendant “a plausible ground for dismissal of his indictment

 5   that was previously unavailable,” the Ninth Circuit explained that it

 6   did not want to “dilute even further the effectiveness and finality

 7   of valid guilty pleas” by allowing the defendant to withdraw his plea

 8   on the basis asserted.      Id.

 9         In Ortega-Ascanio, the one instance in which the Ninth Circuit

10   found a change in law sufficient to justify withdrawal of a plea, the

11   defendant had pled guilty to illegally reentering the United States

12   following removal.     376 F.3d at 881.     The Immigration Naturalization

13   Service (“INS”) deported Ortega-Ascanio in 1998, based on the fact

14   that, in 1989, he pled guilty to sexual battery in violation of

15   California Penal Code §243.4.       Id. at 882.     At the time of Ortega-

16   Ascanio’s deportation hearing (1998), the Ninth Circuit had found

17   that the Antiterrorism and Effective Death Penalty Act of 1996

18   (“AEDPA”) applied retroactively, preventing Ortega-Ascanio from

19   asserting that he was eligible for relief from deportation under

20   § 212(c) of the Immigration and Nationality Act of 1952.            Id.   After

21   Ortega-Ascanio pled guilty but before sentencing, the Supreme Court

22   decided INS v. St. Cyr, 533 U.S. 289 (2001), which held that AEDPA

23   could not apply retroactively to bar § 212(c) relief to aliens who

24   were eligible for such relief at the time they pled guilty to the

25   offence.    Ortega-Ascanio, 376 F.3d at 882.        In light of St. Cyr, the

26   Ninth Circuit held that “Ortega-Ascanio demonstrated a fair and just

27   reason for withdrawing his plea, namely, an intervening Supreme Court

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 1   decision that overruled Circuit precedent and gave [Ortega-Ascanio] a

 2   plausible ground for dismissal of his indictment.” Id. at 887.

 3               2.    Maslenjak Is Not A Marked Shift in Ninth Circuit Law

 4         The circumstances in the present case are very different from

 5   Ortega-Ascanio.     Maslenjak does not overrule Ninth Circuit precedent

 6   or provide defendant with a previously unavailable argument.

 7   Certiorari was granted in Maslenjak to resolve a circuit split on the

 8   issue of whether making a false statement during the naturalization

 9   proceeding resulted in a violation of 18 U.S.C. § 1425(a) regardless

10   of whether the false statement actually influenced the naturalization

11   decision.    Maslenjak, 137 S. Ct. at 1924 & n.1.        The Ninth Circuit

12   was aligned with other circuits that required some showing that a

13   misrepresentation mattered to the naturalization decision in a

14   prosecution under Section 1425.        United States v. Alferahin, 433 F.3d

15   1148, 1155 (9th Cir. 2006); United States v. Munyenyezi, 781 F.3d

16   532, 536 (1st Cir. 2015); United States v. Latchin, 554 F.3d 709, 713

17   (7th Cir. 2009).     On the other side was the Sixth Circuit (where the

18   case originated), which specifically did not require the government

19   to prove that a false statement was material or that the false

20   statement influenced the naturalization decision in order to

21   establish a violation of section 1425(a).         United States v.

22   Maslenjak, 821 F.3d 675, 685–86 (6th Cir. 2016) (overruled by

23   Maslenjak, 137 S. Ct. 1918).

24         In Maslenjak, the Supreme Court rejected the jury instruction

25   (approved by the Sixth Circuit) that the government could prevail so

26   long as the government “proved that one of the defendant’s statements

27   was false –- even if the statement was not material and did not

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 1   influence the decision to approve her naturalization.”            Maslenjak,

 2   137 S. Ct. at 1924.     (internal quotations and citation omitted).             The

 3   Supreme Court found that not just any false statement could form the

 4   basis for a conviction under section 1425(a).          Rather, the government

 5   “must establish that an illegal act by the defendant played some role

 6   in her acquisition of citizenship,” meaning that a false statement

 7   must be about facts that would have mattered to an immigration

 8   official, because they would have justified denying naturalization or

 9   would predictably have led to other facts warranting the result.                Id.

10   at 1923.    In essence, Maslenjak requires a “causal relation” between

11   the misrepresentation and the naturalization decision.            See id. at

12   1925.

13           It is well established in the Ninth Circuit that the materiality

14   element of § 1425(a) is a “heightened materiality requirement,” which

15   includes the “requirement that the government produce evidence

16   sufficient to raise a fair inference that [the defendant] was

17   statutorily ineligible for permanent residence.” United States v.

18   Alferahin, 433 F.3d 1148, 1155 (9th Cir. 2006); United States v.

19   Puerta, 982 F.2d 1297, 1303–04 (9th Cir. 1992).          The causal-link

20   requirement for a § 1425(a) conviction is therefore, at most, a small

21   change from the heightened materiality standard that the Ninth

22   Circuit required before Maslenjak and which applied to defendant at

23   the time of his plea.      Any such change is far less than “[a] marked

24   shift in governing law that . . . may operate as a fair and just

25   reason to withdraw a guilty plea.”          Ensminger, 567 F.3d at 592.

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 1                3.   Maslenjak Does Not Open Any New Arguments For
                       Defendant Given His Prior Admissions
 2
     Furthermore, whether or not Maslenjak changed Ninth Circuit law, it
 3
     does not offer defendant any basis to challenge his conviction.
 4
     Applying Maslenjak’s causal-link requirement, defendant is guilty of
 5
     Unlawful Procurement of Naturalization under 18 U.S.C. § 1425.
 6
     Defendant admitted that he attempted to procure United States
 7
     citizenship naturalization by making false statements about never
 8
     committing a crime or offense for which he had not been arrested when
 9
     he had actually committed two crimes.         (Plea Agreement ¶ 17.)
10
     Defendant admitted to committing the crimes prior to applying for
11
     naturalization and specifically admitted that he knew the false
12
     statements about not committing crimes “to be false when made.”
13
     (Id.)    The crimes defendant had committed and pled to were Conspiracy
14
     to Launder Monetary Instruments, in violation of 18 U.S.C. § 1956(h)
15
     and the Passing False Papers Through Customhouse, in violation of 18
16
     U.S.C. § 545.     (Id.)   Money laundering and customs fraud exceeding
17
     $10,000 are aggravated felonies under the Immigration and Nationality
18
     Act, 8 U.S.C. §§ 1101(a)(43)(D), (M)(i).         Aggravated felonies bar a
19
     defendant from establishing good moral character for naturalization.
20
     See 8 C.F.R. § 316.10(b)(2)(iv).
21
             Under Maslenjak, the government may establish a causal relation
22
     in one of two ways; either by showing that the misrepresented facts
23
     were themselves disqualifying or through an investigation-based
24
     theory.    See 137 S. Ct. at 1928–29.       In this case, the true facts,
25
     had defendant honestly responded to the questions in his application
26
     for naturalization, were themselves disqualifying.           Elsewhere in
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     defendant’s plea agreement, he admitted that the customs fraud and
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                                            12
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 1   the money laundering each, separately, involved funds exceeding

 2   $10,000.    (Plea Agreement ¶ 17.)

 3         While, as defendant notes, Maslenjak was concerned with the

 4   criminalization of false statements that have nothing to do with the

 5   procurement of naturalization, failure to disclose federal felonies

 6   is a far cry from failure to disclose a prior speeding violation.

 7   Compare Maslenjak, 137 S. Ct. at 1927.         The question on the

 8   naturalization application regarding whether the applicant had ever

 9   committed a crime or offense for which he had not been arrested is

10   intended to disqualify people who have committed serious crimes that

11   are per se disqualifying.       That is, this question is intended to

12   disqualify people like defendant.

13         Since Maslenjak does not provide defendant with any basis to

14   challenge his guilt, it certainly cannot constitute intervening

15   circumstances that would allow him to withdraw his guilty plea.

16         B.    The Record Rebuts Defendant’s Claim That His Plea Was Not
                 Knowing Or Intelligent
17
           Defendant also argues that his original plea was not knowing and
18
     intelligent.    The basis for his argument is twofold: first, that he
19
     did not know at the time of his naturalization application that his
20
     prior actions constituted crimes (Def.’s Mot. at 10.) and second,
21
     that, had he been correctly advised by his attorney that the law
22
     required him to know his prior acts were crimes at the time he
23
     committed them, he would not have pled guilty.          (Id.)   His motion
24
     states, “Although Mr. Chen was advised after his arrest that his acts
25
     were crimes, he did not know of their criminal nature when he applied
26
     for citizenship and thus did not knowingly make a false statement.”
27
     (Id. at 11.) (emphasis in original).        Defendant then claims that had
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                                            13
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 1   he known the knowledge component to the crime at the time he pled

 2   guilty, he would not have pled.        (Id.)

 3         However, the factual contention on which defendant’s argument is

 4   based – that he did not know at the time he filled out his

 5   naturalization application that his prior acts constituted crimes –

 6   is squarely contradicted by his prior statements.           In his plea

 7   agreement, defendant agreed that: “defendant knowingly procured and

 8   attempted to procure, contrary to law, his United States citizenship

 9   naturalization, by making the following false material statement,

10   which he knew to be false when made. . . .” (Ex. A, ¶ 17) (emphasis

11   added).   Defendant acknowledged at his change of plea hearing that he

12   had read the plea agreement and that he understood it.            Defendant

13   further acknowledged that he had discussed the decision and

14   consequences with his attorney, and that he was satisfied with his

15   attorney.    Defendant also stated that his plea was knowing and

16   voluntary.    “Statements made by a defendant during a guilty plea

17   hearing carry a strong presumption of veracity in subsequent

18   proceedings attacking the plea.”        United States v. Ross, 511 F.3d

19   1233, 1236 (9th Cir. 2008).

20         Both in his plea agreement and during his plea colloquy,

21   defendant was advised of the elements of Unlawful Procurement of

22   Citizenship, which included that “defendant knowingly made a

23   misrepresentation on his naturalization application.”           (Plea

24   Agreement ¶ 10.)     That element is not at all affected by Maslenjak,

25   which addresses only whether that misrepresentation need be material

26   or causally linked in some other way to defendant’s procurement of

27   naturalization –- the third element of the offense.           Maslenjak also

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 1   does not require that the defendant know that his misstatement have a

 2   causal link with the naturalization process, only that there be a

 3   causal link.    Thus, there is no basis for defendant to claim that

 4   Maslenjak rendered his plea unknowing or unintelligent.

 5         Defendant was placed under oath before he made his statements at

 6   his plea colloquy.     The Court should not give credence to his current

 7   claim, as he seeks to be relieved of the consequences of his plea,

 8   that he did not know the facts he previously admitted.

 9   IV.   GOVERNMENT’S POSITIONS SHOULD DEFENDANT PERSIST WITH AND PREVAIL
           ON HIS MOTION
10
           Should the defendant persist with the part of his motion that
11
     asserts that he did not know, at the time that he submitted his
12
     naturalization application, that he had committed the crimes of
13
     customs fraud and money laundering, the government requests that the
14
     Court declare the plea agreement breached.          Should the defendant
15
     persist in his motion and prevail in convincing the Court that he has
16
     a fair and just reason to withdraw his plea to only count three of
17
     the FSI, the Court should find that defendant withdrew his plea and
18
     triggered paragraph 25 of the plea agreement, “Result of Withdrawal
19
     of Guilty Plea.”     The government also requests that the Court find,
20
     in the event defendant withdraws his plea to one count of the FSI,
21
     that the “package deal” has been violated and that the dispositions
22
     for defendant’s co-defendant children, Chuang Feng Chen and Aixia
23
     Chen, be voidable at the government’s discretion.
24
           A.    Defendant Breaches His Plea Agreement By Asserting Facts In
25               His Motion That Contradict Facts Agreed To In The Plea
                 Agreement
26
           The Ninth Circuit has recognized that “a plea bargain agreement
27
     is contractual in nature and subject to contract law standards.”
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                                            15
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 1   United States v. Carillo, 709 F.2d 35, 36 (9th Cir. 1983) (quoting

 2   United States v. Krasn, 614 F.2d 1229, 1233 (9th Cir. 1980)).

 3         As discussed in Part III.B, infra, in asserting that he did not

 4   knowingly make a false statement in his naturalization application

 5   because he did not know his acts were crimes at the time (Def.’s Mot.

 6   at 11), defendant is directly contradicting facts he agreed to in the

 7   plea agreement – namely, that he made a false statement “which he

 8   knew to be false when made” (Plea Agreement ¶ 17 (final paragraph)).

 9   The provisions of the plea agreement make it crystal clear that

10   disputing any agreed-upon fact is a breach.          Paragraph 3(b) lists one

11   of defendant’s obligations as “Not contest facts agreed to in this

12   agreement.”    Defendant agreed to the fact that he knew the statement

13   that he had never committed a crime or offense for which he had not

14   been arrested “to be false when made” in paragraph 17 of his plea

15   agreement.    Then, paragraph 27 explains that if defendant “knowingly

16   violates or fails to perform any of defendant’s obligations under

17   this agreement, the USAO may declare this agreement breached.”             (Plea

18   Agreement ¶ 27.)     To dispel any ambiguity, the paragraph continues

19   that “a single breach of this agreement is sufficient for the USAO to

20   declare breach.”     (Id.)   Consistent with paragraph 27 of defendant’s

21   plea agreement, the USAO is declaring defendant’s plea agreement

22   breached should he not withdraw his motion.

23         B.     If Defendant Withdraws His Plea, The Government Is Relieved
                  Of All Obligations Under the Agreement, Including Its
24                Agreements Under The Package Deal
25         Should the Court find that the defendant is permitted to

26   withdraw his plea to Count Three and defendant chooses to withdraw

27   that plea, the government believes that paragraph 25 of the plea

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 1   agreement is triggered, meaning that the government will be relieved

 2   of all of its obligations under the plea agreement.           In addition,

 3   defendant’s withdrawal of his plea will be a rescission of the

 4   package deal, and the government will be able to void the

 5   dispositions with co-defendants Chuang Feng Chen and Aixia Chen.

 6         Paragraph 25 of the plea agreement explains that if, after

 7   pleading guilty, “defendant seeks to withdraw and succeeds in

 8   withdrawing his guilty plea on any basis other than a claim and

 9   finding that entry into this plea agreement was involuntary,” then

10   the government would be “relieved of all of its obligations” under

11   the plea agreement and may choose “to pursue any charge that was

12   either dismissed or not filed as a result of this agreement.” (Id.

13   ¶ 25 (emphasis added).)

14         Defendant has made no argument and there is nothing on the

15   record suggesting that defendant’s entry into his plea agreement was

16   involuntary.    Even defendant’s argument that his plea was “neither

17   knowingly or intelligently made” does not go to the voluntariness of

18   the plea.    To the contrary, defendant certified that his entry into

19   the plea was knowing and voluntary, both in his plea agreement and

20   during his change of plea colloquy.

21         In his plea agreement, he certified “I understand the terms of

22   this agreement, and I voluntarily agree to those terms.”            (Plea

23   Agreement at 24.)     At his plea colloquy, the defendant was advised of

24   the consequences of his plea, including the nature of the charges and

25   the maximum penalties.      Defendant confirmed that he had discussed the

26   plea agreement with his attorney and was satisfied with the

27   representation of his attorney.        Defendant also confirmed that he was

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 1   entering into the plea voluntarily and of his own free will.             At the

 2   end of the colloquy, the Court accepted defendant’s pleas and found

 3   them knowing and voluntary.       On such a record, the Court should

 4   continue to find that defendant’s plea agreement and pleas were

 5   knowingly and voluntarily made.        See United States v. Navarro-

 6   Botello, 912 F.2d 318 (9th Cir. 1990); United States v. Lo, 839 F.3d

 7   777, 783-85 (9th Cir. 2016) (finding waiver of appeal knowing and

 8   voluntary based on “circumstances surrounding the signing and entry

 9   of the plea agreement” and that “defendant need not be aware of

10   possible grounds of appeal”.)

11           The government additionally believes that defendant’s failure to

12   enter pleas to all three counts of the FSI, as demanded by the plea

13   agreement (Plea Agreement ¶ 3(a)), would constitute a breach of the

14   plea agreement or at least grounds for rescission of the package

15   deal.    Paragraph 2 of defendant’s plea agreement (as well as

16   paragraph 2 of Chuang Feng Chen’s plea agreement) explains that the

17   agreement is part of a package deal “tied to and conditioned on the

18   disposition” of the charges against the co-defendants in the case.

19   (Id. ¶ 2; Chuang Feng Chen’s Plea Agreement, ¶ 2.)           Consequently,

20   even if the Court should find that defendant’s withdrawal of guilty

21   plea was permitted based on a finding that the previous entry of the

22   plea was “involuntary,” the package deal would be broken since the

23   package disposition was conditioned on all three defendants

24   completing their agreements with the government.           Should the Court

25   find the package deal rescinded, the government’s position would be

26   that the agreements between the government and either or both co-

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 1   defendants Chuang Feng Chen and Aixia Chen would be voidable at the

 2   government’s discretion.

 3   V.     CONCLUSION
 4         For the reasons set forth above, the Court should deny

 5   defendant’s motion to withdraw his plea to Count Three of the FSI.

 6   Should the defendant persist in contesting any facts agreed to in his

 7   plea agreement, the government asks that the Court declare the plea

 8   agreement breached and the government relieved of its obligations.

 9   Should the defendant withdraw his plea and the Court find that the

10   entry of the plea was voluntary, the government asks the Court to

11   find paragraph 25 (“Result of Withdrawal of Guilty Plea”) triggered

12   and the package deal broken.       Should the defendant withdraw his plea

13   and the Court find it based on involuntary entry into the plea

14   agreement, the Court should still find the package deal broken and

15   all agreements with the co-defendants voidable at the government’s

16   discretion.

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